        Case 1:09-cr-00097-JL   Document 85   Filed 07/15/09   Page 1 of 1




                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

            v.

Matthew Chase                             Criminal No. 09-cr-97-04-JL



                                  O R D E R


     The assented to motion to reschedule jury trial (document no.

84) filed by defendant is granted. No further continuances without

a hearing.

     Defendant shall file a waiver of speedy trial rights within 10

days.   The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(8)(B)(iv), for the

reasons set forth in the motion.

     SO ORDERED.



                                          _______________________________
Date:    July 15, 2009                    Joseph N. Laplante
                                          United States District Judge

cc: Lawrence A. Vogelman, Esq.
Jessica C. Brown, AFD
Glenn G. Geiger, Esq.
Mark E. Howard, Esq.
Richard H. Hubbard, Esq.
Bruce E. Kenna, Esq.
Richard F. Monteith, Jr., Esq.
Stanley W. Norkunas, Esq.
Michael J. Sheehan, Esq.
Jennifer C. Davis, AUSA
U.S. Marshal
U.S. Probation
